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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA

10   JOSE ESTRADA,                          )         Case No.: 2:21-cv-01207-JAK-AGR
                                            )
11             Plaintiff,                   )
                                            )         NOTICE OF SETTLEMENT AND
12     v.                                   )         REQUEST TO VACATE ALL
13   FAMILY DOLLAR, INC., a North Carolina ))         CURRENTLY SET DATES
     Corporation,                           )
14                                          )
               Defendants,
                                            )
15                                          )
16          The plaintiff hereby notifies the court that a provisional settlement has been
17   reached in the above-captioned case. The Parties would like to avoid any additional
18   expense while they focus efforts on finalizing the terms of the settlement and reducing it
19   to a writing. The plaintiff, therefore, applies to this Honorable Court to vacate all
20   currently set dates with the expectation that the settlement will be consummated within
21   the coming sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice
22   as to all parties to be filed.
23
                                        CENTER FOR DISABILITY ACCESS
24
25   Dated: March 19, 2021              /s/ Amanda Seabock
26                                      Amanda Seabock
                                        Attorney for Plaintiff
27
28


     Notice of Settlement             -1-                    2:21-cv-01207-JAK-AGR
